Case 2:23-cv-03709-JMV-JRA Document 8 Filed 08/08/23 Page 1 of 1 PagelID: 293

AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Trutek Corp. )
Plaintiff )
. C . 2:23-cv-3709
Salvacion USA, Inc., et al. ase No evs
Defendant )

APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

1 am admitted or otherwise authorized to practice in this court, and I] appear in this case as counsel for:

Defendants Yeong Wan Cho (a/k/a Peter Cho); Sei Young Yun; Salvacion USA, Inc.; Salvacion International, LLC;
Saivacion Co., Ltd; Salvacion R&D Center; Biosure Giobal, Ltd. oO

Date; August 8, 2023 /s/ Thomas N. Ryan

Attorney's signature

Thomas N. Ryan (018951985)

Printed name and bar number

Laddey, Clark & Ryan, LLP
60 Blue Heron Road

Suite 300

‘Sparta, NJ 07871 Address

tryan@lcrlaw.com

E-mail address

973-729-1880

Telephone number

973-729-1224

FAX number
